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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________________

MICHAEL CASACCIA
                            Plaintiff,
                                                          NOTICE OF MOTION

                     -vs-                            Civil Action No. 17-CV-6323(MAT)


CITY OF ROCHESTER, et al

                        Defendants.
___________________________________________

MOTION BY:                                 City of Rochester

DATE AND TIME:                             ________________________________

RELIEF REQUESTED:                          Denial of Amended Complaint

GROUNDS:                                   FRCP Rule 16

LOCATION:                                  Hon. Jonathan W. Feldman
                                           U.S. Magistrate Judge
                                           United States District Court for the
                                           Western District of New York
                                           100 State Street
                                           Rochester, New York 14614

SUPPORTING PAPERS:                         City of Rochester’s Memorandum of Law.

      Defendant reserves the right to reply to any responding papers.


DATED: April 15, 2019                        Timothy R. Curtin, Corporation Counsel

                                           BY: s/Spencer L. Ash_____________
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                                             Attorneys for Defendants
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